                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
 Plaintiff,                                  )   Case No. 7:19cv354
                                             )
                                             )
 V.                                          )
                                             )
 SOUTHERN COAL CORPORATION;                  )
 A & G COAL CORPORATION;                     )
 JUSTICE COAL OF ALABAMA LLC;                )
 BLACK RIVER COAL LLC;                       )
 CHESTNUT LAND HOLDINGS LLC;                 )
 DOUBLE BONUS COAL COMPANY;                  )
 DYNAMIC ENERGY INC.; FOUR                   )
 STAR RESOURCES LLC; FRONTIER                )
 COAL COMPANY, INC.; INFINITY                )
 ENERGY INC.; JUSTICE ENERGY                 )
 COMPANY, INC.; JUSTICE                      )
 HIGHWALL MINING, INC.;                      )
 KENTUCKY FUEL CORP.,                        )
 KEYSTONE SERVICES INDUSTRIES                )
 INC.; M & P SERVICES, INC.; NINE            )
 MILE MINING COMPANY, INC.;                  )
 NUFAC MINING COMPANY, INC.;                 )
 PAY CAR MINING INC.; PREMIUM                )
 COAL COMPANY, INC.; S AND H                 )
 MINING, INC.; SEQUOIA ENERGY,               )
 LLC; TAMS MANAGEMENT, INC.;                 )
 VIRGINIA FUEL CORP.,                        )
                                             )
 Defendants.

                                         COMPLAINT

        Plaintiff, United States of America, on behalf of the Secretary of Labor, United States

Department of Labor, and Mine Safety and Health Administration (“MSHA”), by and through the

United States Attorney for the Western District of Virginia, hereby alleges as follows:
                                        INTRODUCTION

       1.       This action is brought by the United States of America to collect civil penalties and

other amounts owed to the United States under the Mine Safety and Health Act of 1977, as

amended, 30 U.S.C. § 801, et seq. (“Mine Act”), and the Federal Debt Collection Procedures Act

(“FDCPA”), 28 U.S.C. § 3001, et seq., as applicable.

       2.       Defendants have failed to pay hundreds of monetary penalties for Mine Act

violations, totaling $4,776,370.40, inclusive of penalties and interest, as of May 3, 2019. As a

result, the United States seeks “to recover a judgment on [the] debt” that Defendants have long

refused to pay. 28 U.S.C. § 3001(a).

                                 JURISDICTION AND VENUE

       3.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1345 because

the United States is the plaintiff. The Court also has jurisdiction under Section 110(j) of the Mine

Act, 30 U.S.C. § 820(j), and the FDCPA, 28 U.S.C. § 3001(a).

       4.       Venue is proper in the Western District of Virginia pursuant to 28 U.S.C.

§§ 1391(b)(1) and 3001(b).

                                             PARTIES

       5.       Plaintiff is the United States of America acting pursuant to its authority under the

Mine Act and FDCPA to collect debts owed for violations due to unsafe mine conditions under

the Mine Act.

       6.       Southern Coal Corporation (“SCC”) is a Delaware corporation with its principal

place of business at 818 North Eisenhower Drive, Beckley, West Virginia. SCC conducts business

at 302 South Jefferson Street, Roanoke, Virginia. SCC is the parent company of several of the




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defendant mine operators. James C. Justice II, James C. Justice III, and Jillian L. Justice were

and/or are the record owners of all the outstanding stock of SCC at the relevant times.

       7.      Justice Coal of Alabama, LLC (fka Alabama Carbon, LLC) is an Alabama limited

liability company with its principal place of business at 818 North Eisenhower Drive, Beckley,

West Virginia. Justice Coal of Alabama, LLC operates one mine with delinquent, uncontested

MSHA penalties in Jackson County, Alabama.

       8.      A & G Coal Corporation is a Virginia corporation with its principal place of

business at 302 South Jefferson Street, Roanoke, Virginia. A & G Coal Corporation operates eight

mines with delinquent, uncontested MSHA penalties in Wise County and Dickenson County,

Virginia.

       9.      Black River Coal, LLC is a Delaware limited liability company, with its principal

place of business at 302 South Jefferson Street, Roanoke, Virginia. Black River Coal, LLC

operates one mine with delinquent, uncontested MSHA penalties in Tazewell County, Virginia.

       10.     Chestnut Land Holdings, LLC is a Delaware limited liability company with its

principal place of business at 302 South Jefferson Street, Roanoke, Virginia. Chestnut Land

Holdings LLC operates one mine with delinquent, uncontested MSHA penalties in McDowell

County, West Virginia.

       11.     Double Bonus Coal Company is a West Virginia corporation with its principal

place of business at 216 Lake Drive, Daniels, West Virginia. Double Bonus Coal Company

operates one mine with delinquent, uncontested MSHA penalties in Wyoming County, West

Virginia.




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       12.    Dynamic Energy, Inc. is a West Virginia corporation with its principal place of

business at 216 Lake Drive, Daniels, West Virginia. Dynamic Energy, Inc. operates one mine with

delinquent, uncontested MSHA penalties in Wyoming County, West Virginia.

       13.    Four Star Resources LLC is a Kentucky limited liability company with its principal

place of business at 302 South Jefferson Street, Roanoke, Virginia. Four Star Resources LLC

operates one mine with delinquent, uncontested MSHA penalties in Harlan County, Kentucky.

       14.    Frontier Coal Company, Inc. is a West Virginia corporation with its principal place

of business at 216 Lake Drive, Daniels, West Virginia. Frontier Coal Company, Inc. operates one

mine with delinquent, uncontested MSHA penalties in Wyoming County, West Virginia.

       15.    Infinity Energy, Inc. is a Kentucky corporation with its principal place of business

at 302 South Jefferson Street, Roanoke, Virginia. Infinity Energy, Inc. operates one mine with

delinquent, uncontested MSHA penalties in Leslie County, Kentucky.

       16.    Justice Energy Company is a West Virginia corporation with its principal place of

business at 216 Lake Drive, Daniels, West Virginia. Justice Energy Company operates one mine

with delinquent, uncontested MSHA penalties in McDowell County, West Virginia.

       17.    Justice Highwall Mining, Inc. is a West Virginia corporation with its principal place

of business at 216 Lake Drive, Daniels, West Virginia. Justice Energy Company operates one mine

with delinquent, uncontested MSHA penalties in McDowell County, West Virginia.

       18.    Kentucky Fuel Corporation is a West Virginia corporation with its principal place

of business at 302 South Jefferson Street, Roanoke, Virginia. Kentucky Fuel Corporation operates

seven mines with delinquent, uncontested MSHA penalties in Breathitt County, Kentucky; Knott

County, Kentucky; McDowell County, West Virginia; and Logan County, West Virginia.




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       19.    Keystone Service Industries Inc. is a West Virginia corporation with its principal

place of business at 216 Lake Drive, Daniels, West Virginia. Keystone Service Industries operates

one mine with delinquent, uncontested MSHA penalties in McDowell County, West Virginia.

       20.    M & P Services, Inc. is a West Virginia corporation with its principal place of

business at 216 Lake Drive, Daniels, West Virginia. M & P Services, Inc. operates one mine with

delinquent, uncontested MSHA penalties in McDowell County, West Virginia.

       21.    Nine Mile Mining, Inc. is a Virginia corporation with its principal place of business

at 302 South Jefferson Street, Roanoke, Virginia. Nine Mile Mining, Inc. operates two mines with

delinquent, unpaid MSHA penalties in Lee County, Virginia, and Wise County, Virginia.

       22.    Nufac Mining Company, Inc. is a Delaware corporation with its principal place of

business at 1209 Orange Street, Wilmington, Delaware. Nufac Mining Company, Inc. operates

three mines with delinquent, uncontested MSHA penalties in McDowell County and Wyoming

County, West Virginia.

       23.    Pay Car Mining, Inc. is a West Virginia corporation with its principal place of

business at 216 Lake Drive, Daniels, West Virginia. Pay Car Mining, Inc. operates two mines with

delinquent, uncontested MSHA penalties in McDowell County and Wyoming County, West

Virginia.

       24.    Premium Coal Company, Incorporated is an Alabama corporation with its principal

place of business at 302 South Jefferson Street, Roanoke, Virginia. Premium Coal Company,

Incorporated operates three mines with delinquent, uncontested MSHA penalties in Anderson

County, Tennessee.




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        25.     S and H Mining, Inc. is a Tennessee corporation with its principal place of business

at 302 South Jefferson Street, Roanoke, Virginia. S and H Mining Inc. operates one mine with

delinquent, uncontested MSHA penalties in Campbell County, Tennessee.

        26.     Sequoia Energy, LLC is a Kentucky limited liability company with its principal

place of business at 302 South Jefferson Street, Roanoke, Virginia. Sequoia Energy, LLC operates

two mines with delinquent, uncontested MSHA penalties in Harlan County, Kentucky.

        27.     Tams Management, Inc. is a West Virginia corporation with its principal place of

business at 216 Lake Drive, Daniels, West Virginia. Tams Management, Inc. operates two mines

with delinquent, uncontested MSHA penalties in Raleigh County, West Virginia.

        28.     Virginia Fuel Corporation is a Delaware corporation with its principal place of

business at 302 South Jefferson Street, Roanoke, Virginia. Virginia Fuel Corporation operates six

mines with delinquent, uncontested MSHA penalties in Harlan County, Kentucky; Lee County,

Virginia; Dickenson County, Virginia; and Wise County, Virginia.

                                              FACTS

        29.     Under the Mine Act, an “operator means any owner, lessee, or other person who

operates, controls, or supervises a coal or other mine or any designated independent contractor

performing services or construction at such mine.” 30 U.S.C. § 802.

        30.      When the operator is a corporate entity, the operator must provide MSHA with

various information, including identifying the individual controller of the operator. 30 C.F.R.

§ 41.11(d). Any changes to the required information, including a controller change, must be

reported to MSHA within 30 days of the change. Id. § 41.12.

        31.     The controllers of the defendant operators are currently James C. Justice II, James

C. Justice III, and Jillian Justice.



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         32.   Between May 3, 2014, and May 3, 2019, MSHA issued at least 2,297 citations to

Defendants for violations of the Mine Act. MSHA assessed civil penalties for each violation

pursuant to the Mine Act, totaling at least $3,954,984.37. See Treasury Decl., Ex. 1; MSHA Decl.,

Ex. 2.

         33.   Defendants failed to pay the proposed penalties or notify MSHA that it contested

the assessed civil penalties and request a hearing. Defendants were informed that the assessments

would become a final order if they failed to contest the assessments by operation of law under

Section 105(a) of the Mine Act, 30 U.S.C. § 815(a), and that the final order would be enforced

under the provisions of the Mine Act. The citations and penalties are, therefore, final orders within

the meaning of Section 105(a) of the Mine Act, 30 U.S.C. § 815(a).

         34.   The various civil penalties became delinquent thirty days after the final order of the

Federal Mine Safety and Health Review Commission under Section 105(a) and (d) of the Mine

Act, 30 U.S.C. § 815(a) & (d). MSHA sent two demand letters to Defendants and when unable to

collect the respective debt for at least 100 days, MSHA forwarded $2,393,236.97 to the

Department of Treasury (“Treasury”) for collection under the FDCPA.

         35.   Treasury sent a written demand for each delinquent debt upon MSHA’s referral of

each debt to Treasury for collection. Treasury attempted to collect these debts, including hiring

third-party debt collectors and placing Defendants in the Treasury Offset Program. Despite these

collection attempts by Treasury, Defendants still failed to pay the assessed penalty, and Treasury

referred the debts to the Department of Justice for collection.

         36.   After referral to the Department of Justice for collection, the United States

Attorney’s Office for the Western District of Virginia made a written demand for the delinquent

debts on Defendants on September 5, 2018. Defendants still have failed to pay the outstanding



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debt. Interest and additional penalties have been assessed in accordance with 30 U.S.C. § 820(j),

31 U.S.C. §§ 3711(g) and 3717(e), and 28 U.S.C. § 527.

       37.     MSHA’s referral of many of the debts to the Treasury for collection subjected the

penalties to additional fees. For the civil penalties identified in Paragraph 32, Defendants owe an

additional $821,386.03 in unpaid fees.

       38.     The amounts described in Paragraphs 32 and 37, totaling $3,214,623.00, are due

and owing to the United States and have not been paid. See Treasury Decl., Ex. 1.

       39.     Additionally, final orders have been issued against Defendants for an additional

806 violations that MSHA has not referred to Treasury for collection, totaling $1,561,747.40,

which is past due and owing to the United States but has not been paid. See MSHA Decl., Ex. 2.

       40.     As the operators of the mines for which the citations and penalties described above

were issued, Defendants are liable for the unpaid civil penalties pursuant to Sections 110(a) and

110(j) of the Mine Act, 30 U.S.C. §§ 820(a) & 820(j).

                                    PRAYER FOR RELIEF

       The United States of America respectfully requests the following relief:

   1. A Judgment against Defendant for the principal amount of unpaid civil penalties and

       administrative costs owed to the United States for Mine Act violations, in an amount not

       less than $4,776,370.40;

   2. A Judgment against Defendants for interest on the principal amount of the unpaid civil

       penalties at the rate of 8% per annum authorized by Section 110(j) of the Mine Act, 30

       U.S.C. § 820(j), plus interest accruing after May 3, 2019;

   3. A Judgment against Defendants for the 10% surcharge authorized by the FDCPA, 28

       U.S.C. § 3011(a);



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4.   An order enjoining Defendants from violating, failing, or refusing to comply with an order

     or decision under the Mine Act, and enjoining them from failing or refusing to comply with

     any order or decision, including a civil penalty assessment order, that is issued under the

     Mine Act; and

5. Any other appropriate relief.




                                          Respectfully submitted,

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